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16   and OTTOMOTTO LLC

17                                 UNITED STATES DISTRICT COURT
18                                NORTHERN DISTRICT OF CALIFORNIA
19                                       SAN FRANCISCO DIVISION
20   WAYMO LLC,                                              Case No.      3:17-cv-00939-WHA
21                          Plaintiff,                       SUPPLEMENTAL DECLARATION OF
                                                             JAMES HASLIM IN SUPPORT OF
22          v.                                               DEFENDANTS’ SUR-REPLY TO
                                                             PLAINTIFF WAYMO LLC’S MOTION
23   UBER TECHNOLOGIES, INC.,                                FOR PRELIMINARY INJUNCTION
     OTTOMOTTO LLC; OTTO TRUCKING LLC,
24                                                           Date:    May 3, 2017
                            Defendants.                      Time:    7:30 a.m.
25                                                           Ctrm:    8, 19th Floor
                                                             Judge:   The Honorable William Alsup
26
                                                             Trial Date: October 2, 2017
27
             UNREDACTED VERSION OF DOCUMENT SUBMITTED UNDER SEAL
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 1          I, James Haslim, declare as follows:

 2          1.      I am a Senior Manager, Engineering for the Advanced Technologies Group at

 3   Uber Technologies, Inc. (“Uber”) as of January 2017. I understand that Waymo has filed a

 4   lawsuit against Uber, Ottomotto LLC (“Otto”) and Otto Trucking LLC in the U.S. District Court

 5   for the Northern District of California. I submit this supplemental declaration in support of

 6   Defendants’ Sur-Reply to Waymo LLC’s (“Waymo”) Motion for Preliminary Injunction. I have

 7   personal knowledge of the facts set forth in this declaration and, if called to testify as a witness,

 8   could and would do so competently.

 9                                            The Spider Project

10          2.      As stated in my original declaration, I joined Otto in May 2016 as Senior

11   Mechanical Engineer and LiDAR lead, after Otto completed its acquisition of Tyto LIDAR LLC

12   (“Tyto”). I was tasked with leading the team at Otto in developing a light detecting and ranging

13   (LiDAR) solution for autonomous trucks. Shortly after I joined Otto, my team began working on

14   a fiber-based LiDAR project intended for autonomous trucks. This project was known as the

15   “Spider” project. The Spider project sought to leverage a pre-existing LiDAR sensor (known as

16   “Owl”) that had been developed at Tyto beginning in 2012. Tyto’s Owl device was a mapping

17   LiDAR sensor that used a single fiber laser. The Spider project was never completed and my

18   team abandoned the Spider project to work on a very different LiDAR design (called “Fuji”) in

19   late October 2016. Prior to abandoning the Spider project, we built a few components for testing

20   purposes, but we never completely assembled these parts, and we never built all of the

21   components needed for functional prototype, much less a complete LiDAR device. Thus, Spider

22   was never made, used, sold, offered for sale, or imported, and there are no plans to revive the

23   abandoned Spider project.

24          3.      The design concept for the Spider project was a LiDAR sensor with eight optical

25   cavities, eight fiber lasers having a wavelength of approximately 1550 nanometers, and sixteen

26   optical lenses (with each optical cavity having two optical lenses). The Spider design was

27   intended to emit 3.2 million points or beams per second. Figure 1A and 1B, below, are true and

28

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 1   correct computer aided design (CAD) drawings of the Spider design. Figure 1A shows a

 2   perspective view of the design, and Figure 1B shows a top view of the design:

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11
                          Figure 1.A                                       Figure 1.B
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            4.      After Uber acquired Otto in August 2016, I continued to lead my team’s efforts on
13
     the Spider project until we pivoted to the Fuji project in late October 2016. Although Spider was
14
     intended to have eight optical cavities, our team only built a single optical cavity for testing
15
     purposes before the Spider project was abandoned. Figure 2.A, below is a true and correct photo
16
     of the test Spider optical cavity. Figure 2.B, below, is a true and correct annotated CAD drawing
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     of a cross-sectional side view of an optical cavity design for Spider.
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                           Figure 2.A                                      Figure 2.B
12
             5.      The Spider design included eight fiber lasers, each of which was split into eight
13
     “transmit fibers” to create a total of 64 transmit channels. Each cavity had eight transmit fibers—
14
     a single transmit fiber from each of the eight fiber lasers. Spider did not use any printed circuit
15
     boards (PCB) for positioning transmit fibers within a cavity. Rather, the transmit fibers were
16
     mounted into ceramic sleeves or ferrules which were bonded into holes drilled through a metal
17
     plate. Each cavity also had a flat mirror with a large hole to allow the light emitted from the
18
     transmit fibers to travel straight through the hole in the mirror, through two separate collimating
19
     lenses (an interior lens and an exterior lens) and into the environment.
20
             6.      Each optical cavity had two optical lenses. Figures 3.A and 3.B show true and
21
     correct schematics of the two optical lenses for each Spider cavity. Figure 3.A shows the
22
     schematic of the interior lens, i.e., the lens closest to the transmit fibers, and Figure 3.B shows the
23
     schematic of the exterior lens, i.e., farthest from the transmit fibers. The two lenses work together
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     to provide collimation of the light emitted from the transmit fibers into the environment and to
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     focus the target-reflected light to the detectors.
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 1   which discloses that its Erbium Ytterbium double clad doped fiber is an ideal component for a

 2   “high power laser” (i.e., “1550 nm band”) and lists “LIDAR” as an intended application for this

 3   fiber.

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                                                   Figure 4
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              8.    As mentioned above, we abandoned the Spider project before we completed a
16
     prototype device. Spider was designed to have eight optical cavities, but we had only built one
17
     optical cavity for testing purposes, and never mounted that single test optical cavity onto the
18
     rotating base. For the one test optical cavity that we built, we were unable to place the transmit
19
     fibers accurately enough to align the eight transmit fibers to the eight photodetectors.
20
              9.    My team worked on the Spider project until late October 2016. Spider proved to
21
     be undesirable and was abandoned because of the complexities of the design, the anticipated
22
     difficulty of scaling the manufacturing of the design, and its large size, heavy weight, and high
23
     power requirement. As designed, Spider would likely have weighed approximately 165 pounds,
24
     which would have been about six times heavier than a Velodyne HDL-64. While the large size
25
     and heavy weight of the Spider design was less of a consideration for a semi-truck, the weight of
26
     Spider design, along with the additional components that would have been required to mount a
27
28

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 9                                     Comparison between Spider and Fuji

10              19.    Below is a comparison of design specifications of the proposed Spider design and

11    the Fuji device.
                                                    Spider                             Fuji
12
            Type of Laser                Fiber lasers                     Direct diode lasers
13          # of Channels                64                               64
            # of Cavities                8                                2
14
            # of transmit PCBs per       None
15          cavity
            # & Type of Transmit         Total: 16 lenses total           Total: 4
16          and Receive Lens             Per cavity: 2 lens that both     Per cavity: 1 lens for transmit
                                         transmit and receive             and 1 lens for receive11
17
            Pre-collimation Lens         None                             64 FAC lenses, one per diode
18          (i.e. FAC lens)
            # & Type of Mirrors          One flat mirror with a hole      None
19
            Weight                       75 kg                            Maximum of 20 kg
20
                                         (approximately 165 lbs)          (approximately 44 lbs)
21          Beams or Points per          3.2 million                      1.5 million
            second
22
                                        Inspection of Spider Components
23
                20.    On Friday, April 14, 2017 and Monday, April 17, 2017, I oversaw the collection of
24
      existing components associated with the abandoned Spider project for Waymo’s inspection on
25
      Wednesday, April 19, 2017. Esther Kim Chang of Morrison Foerster and Aaron Bergstrom of
26
      Uber assisted in this process.
27
      11
28         Not including the field flattening lens in the receive compartment within a cavity.

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